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  13                        UNITED STATES DISTRICT COURT
  14          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  15

  16    Universal City Studios Productions     Case No. 2:17-cv-07496
        LLLP; Columbia Pictures Industries,
  17    Inc.; Disney Enterprises, Inc.;        TICKBOX TV, LLC’S ANSWER TO
        Twentieth Century Fox Film             FIRST AMENDED COMPLAINT
  18    Corporation; Paramount Pictures
        Corporation; Warner Bros.
  19    Entertainment Inc.; Amazon Content
        Services, LLC; Netflix Studios, LLC,
  20
                       Plaintiffs,
  21
              v.
  22
        TickBox TV LLC,
  23
                       Defendant.
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                      TICKBOX TV, LLC’S ANSWER TO FIRST AMENDED COMPLAINT
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   1         Comes now TickBox LLC (“TickBox”) and asserts its affirmative defenses
   2   and answers each and every paragraph of Plaintiff’s First Amended Complaint as
   3   follows:
   4         1.    TickBox denies that it currently distributes and sells a hardware device.
   5   Any advertising, promotional or website material related to the marketing and sale
   6   of TickBox’s products is the highest and best evidence of its content and will speak
   7   for itself. TickBox denies the remaining allegations of Paragraph 1 of the First
   8   Amended Complaint.
   9         2.    TickBox denies Paragraph 2 of the First Amended Complaint.
  10         3.    TickBox denies Paragraph 3 of the First Amended Complaint.
  11         4.    TickBox is without sufficient knowledge or information upon which to
  12   form a belief of the truth or accuracy of the allegation contained in Paragraph 4 of
  13   the First Amended Complaint.
  14         5.    TickBox is without sufficient knowledge or information upon which to
  15   form a belief of the truth or accuracy of the allegation contained in Paragraph 5 of
  16   the First Amended Complaint.
  17         6.    TickBox is without sufficient knowledge or information upon which to
  18   form a belief of the truth or accuracy of the allegation contained in Paragraph 6 of
  19   the First Amended Complaint.
  20         7.    TickBox is without sufficient knowledge or information upon which to
  21   form a belief of the truth or accuracy of the allegation contained in Paragraph 7 of
  22   the First Amended Complaint.
  23         8.    TickBox is without sufficient knowledge or information upon which to
  24   form a belief of the truth or accuracy of the allegation contained in Paragraph 8 of
  25   the First Amended Complaint.
  26         9.    TickBox is without sufficient knowledge or information upon which to
  27   form a belief of the truth or accuracy of the allegation contained in Paragraph 9 of
  28   the First Amended Complaint.
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                       TICKBOX TV, LLC’S ANSWER TO FIRST AMENDED COMPLAINT
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   1         10.    TickBox is without sufficient knowledge or information upon which to
   2   form a belief of the truth or accuracy of the allegation contained in Paragraph 10 of
   3   the First Amended Complaint.
   4         11.    TickBox is without sufficient knowledge or information upon which to
   5   form a belief of the truth or accuracy of the allegation contained in Paragraph 11 of
   6   the First Amended Complaint.
   7         12.    TickBox is without sufficient knowledge or information upon which to
   8   form a belief of the truth or accuracy of the allegation contained in Paragraph 12 of
   9   the First Amended Complaint.
  10         13.    TickBox denies it is a corporation duly incorporated under the laws of
  11   the State of Georgia. TickBox is a limited liability company organized under the laws
  12   of the State of Georgia. TickBox otherwise admits the allegations in Paragraph 13 of
  13   the First Amended Complaint.
  14         14.    TickBox admits Paragraph 14 of the First Amended Complaint.
  15         15.    Tickbox admits that Carrla Goldstein is the 100% owner of TickBox,
  16   and that she is a resident of Atlanta, Georgia. TickBox denies the remaining
  17   allegations in Paragraph 15 of the First Amended Complaint.
  18         16.    The allegations of Paragraph 16 of the First Amended Complaint is a
  19   statement of law and/or Plaintiff’s legal position to which no response is required by
  20   this Defendant.
  21         17.    TickBox admits that TickBox currently operates a website
  22   (www.tickboxtv.com), which is available to California residents. Tickbox denies
  23   that it currently conducts online sales, offers “live chat” technical support, or
  24   promotes the TickBox TV device on such website. The remaining allegations
  25   inParagraph 17 of the First Amended Complaint are denied.
  26         18.    TickBox denies that it currently sells and ships TickBox TV devices to
  27   California residents or provides ongoing technical support to California residents or
  28   manages TickBox TV units remotely by facilitating automatic software updates to
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                         TICKBOX TV, LLC’S ANSWER TO FIRST AMENDED COMPLAINT
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   1   TickBox TV customers who reside in California. Tickbox denies that it currently
   2   advertises and promotes TickBox TV to potential customers in California. The
   3   remaining allegations in Paragraph 18 of the First Amended Complaint are denied.
   4          19.    TickBox denies the allegations of Paragraph 19 of the First Amended
   5   Complaint and affirmatively states that the content of its online advertising and
   6   website at any given time is the highest and best evidence of its content and will
   7   speak for itself.
   8          20.    The allegations of Paragraph 20 of the First Amended Complaint is a
   9   statement of law and/or Plaintiff’s legal position and no response is required of this
  10   Defendant. To the extent further response is required of this Paragraph the allegations
  11   are denied.
  12          21.    TickBox is without sufficient knowledge or information upon which to
  13   form a belief as to the truth or accuracy of the allegations contained in Paragraph 21
  14   of the First Amended Complaint. Moreover, the allegations are not those in effect but
  15   are self-serving promotional statements of the Plaintiff.
  16          22.    TickBox is without sufficient knowledge or information upon which to
  17   form a belief as to the truth or accuracy of the allegations contained in Paragraph 22
  18   of the First Amended Complaint. To the extent any further response is required of
  19   this Paragraph the allegations are denied.
  20          23.    TickBox is without sufficient knowledge or information upon which to
  21   form a belief as to the truth or accuracy of the allegations contained in Paragraph 23
  22   of the First Amended Complaint. To the extent any further response is required of
  23   this Paragraph the allegations are denied.
  24          24.    TickBox is without sufficient knowledge or information upon which to
  25   form a belief as to the truth or accuracy of the allegations contained in Paragraph 24
  26   of the First Amended Complaint. To the extent any further response is required of
  27   this Paragraph the allegations are denied.
  28          25.    TickBox is without sufficient knowledge or information upon which to
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                           TICKBOX TV, LLC’S ANSWER TO FIRST AMENDED COMPLAINT
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   1   form a belief as to the truth or accuracy of the allegations concerning alleged third
   2   party sites to which Tickbox TV links or TickBox customers have access. TickBox
   3   admits that it has no contracts with any of the Plaintiffs. To the extent a response is
   4   required of this Paragraph the allegations are denied.
   5         26.    TickBox denies Paragraph 26 of the First Amended Complaint as it
   6   relates to Jeffrey Goldstein and Carrla Goldstein. TickBox admits that the screenshot
   7   included in Paragraph 26 of the First Amended Complaint was a true and accurate
   8   copy of a screenshot of a page of the TickBox website at the time and that such a
   9   page is the highest and best evidence of its content and will speak for itself with
  10   respect to any allegations concerning the installation or use of TickBox TV. TickBox
  11   otherwise admits the allegations in Paragraph 26 of the First Amended Complaint.
  12         27.    TickBox denies Paragraph 27 of the First Amended Complaint as it
  13   relates to Jeffrey Goldstein and Carrla Goldstein.       TickBox further denies that
  14   TickBox currently markets the TickBox TV device. TickBox’s historical marketing
  15   and promotional materials are the highest and best evidence of their content and
  16   speak for themselves. To the extent a further response is required of this Paragraph
  17   the allegations are denied.
  18         28.    TickBox admits Paragraph 28 of the First Amended Complaint.
  19         29.    TickBox denies Paragraph 29 of the First Amended Complaint.
  20         30.    TickBox denies Paragraph 30 of the First Amended Complaint as pled
  21   insofar as it has no information or knowledge concerning any “customer’s
  22   perspective”. The manner in which the TickBox products operated at the time this
  23   lawsuit was filed shall speak for itself as well as any information or materials
  24   contained on any software included therein.
  25         31.    To the extent Paragraph 31 is an allegation of “the customer’s
  26   perspective” as referenced in Paragraph 30 of the First Amended Complaint,
  27   TickBox denies Paragraph 31 of the First Amended Complaint as pled insofar as it
  28   has no information or knowledge concerning any “customer’s perspective”. The
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                        TICKBOX TV, LLC’S ANSWER TO FIRST AMENDED COMPLAINT
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   1   manner in which the TickBox products operated at the time this lawsuit was filed
   2   shall speak for itself as well as any information or materials contained on any
   3   software included therein. To the extent further response is required, denied.
   4         32.    To the extent Paragraph 32 is an allegation of “the customer’s
   5   perspective” as referenced in Paragraph 30 of the First Amended Complaint,
   6   TickBox denies Paragraph 32 of the First Amended Complaint as pled insofar as it
   7   has no information or knowledge concerning any “customer’s perspective”. The
   8   manner in which the TickBox products operated at the time this lawsuit was filed
   9   shall speak for itself as well as any information or materials contained on any
  10   software included therein. To the extent further response is required, denied.
  11         33.    To the extent Paragraph 33 is an allegation of “the customer’s
  12   perspective” as referenced in Paragraph 30 of the First Amended Complaint,
  13   TickBox denies Paragraph 33 of the First Amended Complaint as pled insofar as it
  14   has no information or knowledge concerning any “customer’s perspective”. The
  15   manner in which the TickBox products operated at the time this lawsuit was filed
  16   shall speak for itself as well as any information or materials contained on any
  17   software included therein. To the extent further response is required, denied.
  18         34.    To the extent Paragraph 34 is an allegation of “the customer’s
  19   perspective” as referenced in Paragraph 30 of the First Amended Complaint,
  20   TickBox denies Paragraph 34 of the First Amended Complaint as pled insofar as it
  21   has no information or knowledge concerning any “customer’s perspective”. The
  22   manner in which the TickBox products operated at the time this lawsuit was filed
  23   shall speak for itself as well as any information or materials contained on any
  24   software included therein. To the extent further response is required, denied.
  25         35.    To the extent Paragraph 35 is an allegation of “the customer’s
  26   perspective” as referenced in Paragraph 30 of the First Amended Complaint,
  27   TickBox denies Paragraph 35 of the First Amended Complaint as pled insofar as it
  28   has no information or knowledge concerning any “customer’s perspective” or
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                       TICKBOX TV, LLC’S ANSWER TO FIRST AMENDED COMPLAINT
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   1   “popularity” of “Covenant”. The manner in which the TickBox products operate at
   2   the time this lawsuit was filed shall speak for itself as well as any information or
   3   materials contained on any software included therein. To the extent further response
   4   is required, denied.
   5         36.    TickBox is without sufficient knowledge or information upon which to
   6   form a belief of the truth or accuracy of the allegations contained in Paragraph 36 of
   7   the First Amended Complaint. . The manner in which the TickBox products operated
   8   at the time this lawsuit was filed shall speak for itself as well as any information or
   9   materials contained on any software included therein.
  10         37.    Defendant is without sufficient knowledge or information upon which
  11   to form a belief as to the truth or accuracy of the allegations concerning which movies
  12   had been authorized for a video-on-demand distribution, which were still being
  13   distributed exclusively to theaters and which are not authorized for in-home viewing
  14   by a video-on-demand distribution as of the date of the First Amended Complaint. In
  15   further response to Paragraph 37, TickBox states that the contents of any page which
  16   may have been accessible on the TickBox device is the highest and best evidence of
  17   its content and will speak for itself. To the extent further response to this Paragraph
  18   is required the allegations are denied.
  19         38.    TickBox is without sufficient knowledge or information upon which to
  20   form a belief as to the truth or accuracy of the allegations concerning what content
  21   had been authorized with respect to third-party “sources”. TickBox states that the
  22   contents of any page which may have been accessible on the TickBox device is the
  23   highest and best evidence of its content and will speak for itself. To the extent further
  24   response to this Paragraph is required the allegations are denied.
  25         39.    TickBox is without sufficient knowledge or information upon which to
  26   form a belief as to the truth or accuracy of the allegations regarding “CAM” alleged
  27   in Paragraph 39 of the First Amended Complaint and otherwise denies the allegation
  28   in Paragraph 39.
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                        TICKBOX TV, LLC’S ANSWER TO FIRST AMENDED COMPLAINT
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   1         40.    TickBox states that the contents of any page which may have been
   2   accessible on the TickBox device is the highest and best evidence of its content and
   3   will speak for itself. To the extent further response to this Paragraph is required the
   4   allegations are denied.
   5         41.    TickBox denies Paragraph 41 of the First Amended Complaint.
   6         42.    TickBox denies Paragraph 42 of the First Amended Complaint as it
   7   relates to Jeffrey Goldstein and Carrla Goldstein. TickBox further denies that
   8   TickBox currently advertises the TickBox TV device. The content of TickBox’s
   9   historical promotional online and website information is the highest and best
  10   evidence of their content and shall speak for themselves. To the extent a further
  11   response is required of this Paragraph the allegations are denied.
  12         43.    TickBox denies Paragraph 43 of the First Amended Complaint as it
  13   relates to Jeffrey Goldstein and Carrla Goldstein. TickBox further denies that
  14   TickBox currently promotes the TickBox TV device. The content of TickBox’s
  15   historical promotional online and website information is the highest and best
  16   evidence of their content and shall speak for themselves. To the extent a further
  17   response is required of this Paragraph the allegations are denied.
  18         44.    TickBox denies Paragraph 44 of the First Amended Complaint as it
  19   relates to Jeffrey Goldstein and Carrla Goldstein.       TickBox further denies that
  20   TickBox currently markets the TickBox TV device. The content of TickBox’s
  21   historical promotional online and website information is the highest and best
  22   evidence of their content and shall speak for themselves. To the extent a further
  23   response is required of this Paragraph the allegations are denied.
  24         45.    TickBox denies Paragraph 45 of the First Amended Complaint. The
  25   content of TickBox’s historical promotional online and website information is the
  26   highest and best evidence of their content and shall speak for themselves. To the
  27   extent a further response is required of this Paragraph the allegations are denied.
  28         46.    TickBox denies Paragraph 46 of the First Amended Complaint as it
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                        TICKBOX TV, LLC’S ANSWER TO FIRST AMENDED COMPLAINT
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   1   relates to Jeffrey Goldstein and Carrla Goldstein. TickBox further denies that
   2   TickBox currently advertises the TickBox TV device. The content of TickBox’s
   3   historical promotional online and website information is the highest and best
   4   evidence of their content and shall speak for themselves. To the extent a further
   5   response is required of this Paragraph the allegations are denied.
   6         47.    TickBox admits TickBox is a commercial venture and that its revenues
   7   increase based upon increased sales. TickBox otherwise denies the allegations in
   8   Paragraph 47 of the First Amended Complaint.
   9         48.    TickBox denies the allegations in Paragraph 48 of the First Amended
  10   Complaint.
  11         49.    TickBox denies Paragraph 49 of the First Amended Complaint as it
  12   relates to Carrla Goldstein. TickBox admits that Jeffrey Goldstein, as CEO of
  13   TickBox, could direct certain changes to the TickBox TV interface, including the
  14   options available to customers via the “Select your Theme” menu and related menu
  15   options.
  16         50.    In response to Paragraph 50 of the First Amended Complaint, TickBox
  17   restates and incorporates by reference herein its response to the Paragraphs 1-49 of
  18   the First Amended Complaint with the same force and effect as if they had been
  19   restated herein.
  20         51.    TickBox denies Paragraph 51 of the First Amended Complaint.
  21         52.    TickBox denies Paragraph 52 of the First Amended Complaint.
  22         53.    TickBox denies Paragraph 53 of the First Amended Complaint.
  23         54.    TickBox denies Paragraph 54 of the First Amended Complaint.
  24         55.    TickBox denies Paragraph 55 of the First Amended Complaint.
  25         56.    TickBox denies Paragraph 56 of the First Amended Complaint.
  26         57.    TickBox denies Paragraph 57 of the First Amended Complaint.
  27         58.    TickBox denies Paragraph 58 of the First Amended Complaint.
  28         59.    TickBox denies Paragraph 59 of the First Amended Complaint.
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   1         60.    In response to Paragraph 60 of the First Amended Complaint, TickBox
   2   restates and incorporates by reference herein its response to the Paragraphs 1-49 of
   3   the First Amended Complaint with the same force and effect as if they had been
   4   restated herein.
   5         61.    TickBox denies Paragraph 61 of the First Amended Complaint.
   6         62.    TickBox denies Paragraph 62 of the First Amended Complaint.
   7         63.    TickBox denies Paragraph 63 of the First Amended Complaint.
   8         64.    TickBox denies Paragraph 64 of the First Amended Complaint.
   9         65.    TickBox denies Paragraph 65 of the First Amended Complaint.
  10         66.    TickBox denies Paragraph 66 of the First Amended Complaint.
  11         67.    TickBox denies Paragraph 67 of the First Amended Complaint.
  12         68.    TickBox denies Paragraph 68 of the First Amended Complaint.
  13         69.    TickBox denies Paragraph 69 of the First Amended Complaint.
  14         70.    Any allegation that is not heretofore expressly admitted is denied.
  15                       AFFIRMATIVE AND OTHER DEFENSES
  16         Defendant asserts the following defenses, whether affirmative or otherwise.
  17   Defendant reserves all further defenses that may now or in the future exist based on
  18   discovery and further factual investigation in the case.
  19         1.     The First Amended Complaint and each claim within it fail to allege
  20                facts sufficient to state a cause of action.
  21         2.     The lack of any volitional action by TickBox relating to infringement
  22                bars liability of TickBox.
  23         3.     TickBox’s lack of culpable intent regarding alleged underlying
  24                infringements bars the claims against TickBox.
  25         4.     The doctrine of unclean hands bars Plaintiff’s claims.
  26         5.     The doctrine of copyright misuse bars Plaintiff’s claims.
  27         6.     Plaintiff’s failure to mitigate damages bars Plaintiff’s claims.
  28         7.     Waiver and estoppel bar Plaintiff’s claims.
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                          TICKBOX TV, LLC’S ANSWER TO FIRST AMENDED COMPLAINT
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   1          8.    The safe harbors under 17 U.S.C. § 512 bar the relief against TickBox
   2                that the Plaintiff seeks.
   3          9.    Plaintiff’s claims for statutory damages violate the First, Fifth, and
   4                Eighth Amendments to the United States Constitution.
   5          10.   TickBox is immune from any liability under 47 U.S.C. § 230 of the
   6                Communications Decency Act.
   7          Wherefore, TickBox, TV LLC demands judgment that Plaintiffs’ First
   8   Amended Complaint against it be dismissed with all costs to be cast against the
   9   Plaintiff.
  10   DATED: July 20, 2018.
  11

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                                                witkow | baskin
                                                SCHREEDER, WHEELER & FLINT, LLP
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  14                                            By: John A. Christy
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                       TICKBOX TV, LLC’S ANSWER TO FIRST AMENDED COMPLAINT
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   1                             DEMAND FOR JURY TRIAL
   2          Pursuant to Rule 38(b), Federal Rules of Civil Procedure and Local Rule 38-
   3    1, Defendant hereby demands a trial by jury.
   4   DATED: July 20, 2018
   5

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                                              witkow | baskin
                                              SCHREEDER, WHEELER & FLINT, LLP
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  14                                          Attorneys for Defendant Tickbox TV, LLC
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                        TICKBOX TV, LLC’S ANSWER TO FIRST AMENDED COMPLAINT
